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                                                                                         E-FILED
                                                         Tuesday, 28 February, 2012 01:07:42 PM
                                                                   Clerk, U.S. District Court, ILCD

                    UNITED STATES DISTRICT COURT
                     CENTRAL DISTRICT OF ILLINOIS
                            URBANA DIVISION
_________________________________________________________________________
UNITED STATES OF AMERICA,               )
                                        )
                 Plaintiff,             )
      v.                                )    Case No. 03-CR-20085
                                        )
THOMAS L. CANNON,                       )
                                        )
                 Defendant.             )

                                        OPINION

       This case is before the court for ruling on the pro se Motion for Reconsideration

(#132) filed by Defendant, Thomas L. Cannon. Defendant’s pro se Motion (#132) is

DENIED.

                                          ANALYSIS

       On February 8, 2012, this court entered an Opinion (#131) which denied Defendant’s

pro so Motion to Reduce Sentence (#124). This court concluded that Defendant’s sentence

was not based on the offense level set forth in § 2D1.1 of the United States Sentencing

Guidelines, which has been lowered by the Sentencing Commission, but rather on the

statutory mandatory minimum sentence for his offense. This court concluded that the

retroactive amendment to the Sentencing Guidelines did not change the statutory mandatory

minimum so that Defendant does not qualify for a sentence reduction under 18 U.S.C. §

3582(c)(2). This court additionally noted that Defendant is not entitled to relief under the

Fair Sentencing Act of 2010 (FSA) because the Seventh Circuit Court of Appeals has held

that the FSA is not retroactive. United States v. Fisher, 635 F.3d 336, 340 (7th Cir. 2011),

cert granted in Dorsey v. United States, 132 S. Ct. 759 (2011); see also United States v.
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Campbell, 659 F.3d 607, 609-10 (7th Cir. 2011).

      In his pro se Motion for Reconsideration (#132), Defendant cited an out of circuit

district court case and argued that this court can reduce his statutory mandatory minimum

sentence of life imprisonment because the crack cocaine guidelines “played a role” in

determining his sentence. Defendant also attached exhibits showing that he has completed

classes and been productive while in prison. However, because this court has no authority

to reduce Defendant’s statutory mandatory minimum sentence under 18 U.S.C. § 3582(c)(2),

Defendant’s pro se Motion for Reconsideration (#132) is DENIED.

      IT IS THEREFORE ORDERED THAT Defendant’s pro se Motion for

Reconsideration (#132) is DENIED.

                       ENTERED this 28th day of February, 2012

                              s/ Michael P. McCuskey
                             MICHAEL P. McCUSKEY
                            CHIEF U.S. DISTRICT JUDGE




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